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                  TheDefendantts)
                  Providethe information below foreach defendantnamed in the complaint,whetherthedefendantisan
                  individual,a governmentagency,an organization,ora corporation.Foran individualdefendant,
                  includetheperson'sjobortitle(I
                                               fknow+.Attachadditionalpagesifneeded.
           Case 3:19-cv-00069-NKM Document 2 Filed 11/12/19 Page 2 of 6 Pageid#: 9

ProSe1(Rev.12/16)ComplaintforaCi
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Pro Se1(Rev.12/16)ComplaintforaCivilCase

Il.     Basis forJurisdiction

        Federalcourtsarecoudsoflimitedjurisdiction (limitedpower).Generally,onlytwotypesofcasescan be
        heard in federalcourt:casesinvolving a federalquestion and casesinvolving diversity ofcitizenship ofthe
        parties.Under28U.S.C.j 1331,acasearisingundertheUnitedStatesConstitution orfederallawsortreaties
        isafederalquestion case.Under28U.S.C.j 1332,acasein which acitizenofoneStatesuesacitizenof
        anotherState ornation and the amountatstakeism orethan $75,000 isa diversity ofcitizenship case. ln a
        diversity ofcitizenship case,no defendantm ay be a citizen ofthesam eState asany plaintiff.

        W hatisthebasisforfederalcourtjurisdiction? (checkallthatapply)
                   Federalquestion                          D iversity ofcitizenship


        Fillouttheparagraphs in thissection thatapply to this case.

        A.       IftheBasisforJurisdictionIsaFederalQuestion
                 Listthespecificfederalstatutes,federaltreaties,and/orprovisionsoftheUnited StatesConstitution that
                 areatissue in thiscase.
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        B.       lftheBasis forJurisdiction IsDiversity ofCitizenship

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                                    Theplaintiff,(hame) g drtér/.          rcx.                      ,isacitizenofthe
                                    Stateof(hame) /#.                                         .
                                    Iftheplaintiffis acorporation
                                    Theplaintifll (name)                                             ,isincorporated
                                    underthe lawsofthe Stateof(name)                                                   ,
                                    and hasitsprincipalplace ofbusinessin theState of(name)



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                          TheDefendantts)
                                    Ifthe defendantisan individual
                                    The defendant, (name)                                           ,isacitizen of
                                    the Stateof(name)                                             .Orisacitizen of
                                    (foreignnn/fcw.
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                Case 3:19-cv-00069-NKM Document 2 Filed 11/12/19 Page 4 of 6 Pageid#: 11

 ProSe1(Rev.12/16)ComplaintforaCi
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                                     lfthedefendantisa corporation
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                                     the laws ofthe State of(name)                                             ,and hasits
                                     principalplaceofbusinessintheStaeof(name) Pp a                                          .
                                     Orisincorporatedunderthelawsof(foreignnation)
                                     and has itsprincipalplace ofbusiness in (name)

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                          tand plain statelnentofthe claim .Do notm ake legalarguments. State asbriefly aspossiblethe
              factsshow ing thateach plaintiffisentitled to thedalnagesorotherreliefsought. Statehow each defendantw as
              involved andw hateach defendantdid thatcaused theplaintiffharm orviolated the plaintiff'srights,including
              the datesand placesofthatinvolvem entorconduct.lfmorethan one claim isasserted,num bereach claim and
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              argum ents.Includeany basisforclaiming thatthewrongsalleged are continuing atthepresenttim e. Include
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ProSe1(Rev.12/16)ComplaintforaCivilCase




V.      Certification and Closing

        UnderFederalRule ofCivilProcedure 11,by signing below,1certify to thebestofmy knowledge,information,
        andbeliefthatthiscomplaint:(1)isnotbeingpresentedforanimproperpurpose,suchastoharass,cause
        unnecessary delay,orneedlesslyincreasethecostoflitigation;(2)issupported byexisting1aw orby a
        nonfrivolousargumentforextending,modifying,orreversingexistinglaw;(3)thefacmalcontentionshave
        evidentiary supportor,ifspecifically so identified,willlikely have evidentiary supportaftera reasonable
        opportunityforfurtherilw estigation ordiscovery;and (4)thecolnplaintotherwisecomplieswiththe
        requirem entsofRule 11.

        A.       For PartiesW ithoutan Attorney

                 1agreeto provide theClerk'sOffice with any changesto my address wherecase-related papersm ay be
                 served. 1understand thatmy failure to keep a currentaddresson file with the Clerk'sOffice m ay result
                 in thedism issalofmy case.

                 Dateofsigning'
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                 Signam re ofPlaintiff
                 PrifltedN ame ofPlaintiff    = J t>
        B.       ForAttorneys

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      Case 3:19-cv-00069-NKM Document 2 Filed 11/12/19 Page 6 of 6 Pageid#: 13




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 The within named person (Affiant),                                /4.
                                                                     4.4-              ,who is a resident of
                        County, State of                             , personally came and appeared
 before m e,the nder igned Notary Public,and       akes this his/her statement,testimony and General
 Affidavitunderoath ora#irmation,in good faith,and underpenalty ofperjury,of sincere belief and
 personalknowledge thatthe following m atters,facts,and thingssetforth are true and correct,to the best
 ofhis/herknowledge:


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